  Case 1:16-cr-00140-CMH Document 21 Filed 06/16/16 Page 1 of 5 PageID# 99



                   IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA

             v.                                          Criminal No. 1:16-cr-140

PETER ROMAR,                                             The Hon. Claude M. Hilton
(a/k/a “PIERRE ROMAR”),

    Defendant.



                     GOVERNMENT’S MOTION TO CERTIFY CASE
                     AS COMPLEX UNDER THE SPEEDY TRIAL ACT

       The United States respectfully requests the Court to certify this case as “complex” under

the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(ii), and to set a trial date accordingly. Under

the Speedy Trial Act, trial of a defendant charged in an indictment “shall commence within

seventy days from the filing date (and making public) of the information or indictment, or from

the date the defendant has appeared before a judicial officer of the court in which such charge is

pending, whichever date last occurs.” 18 U.S.C. § 3161(c)(1). Nonetheless, this Court may

schedule a trial beyond the 70-day time limit of the Speedy Trial Act where “the ends of justice

served by taking such action outweigh the best interest of the public and the defendant in a

speedy trial.” 18 U.S.C. § 3161(h)(7)(A). In determining whether the ends of justice are so

served, this Court shall consider whether a “case is so unusual or so complex, due to the number

of defendants, the nature of the prosecution, or the existence of novel questions of fact or law,

that it is unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself

within the time limits established by this section.” 18 U.S.C. § 3161(h)(7)(B)(ii); see United
  Case 1:16-cr-00140-CMH Document 21 Filed 06/16/16 Page 2 of 5 PageID# 100



States v. Reavis, 48 F.3d 763, 771 (4th Cir. 1995). Under this standard, the instant case is

sufficiently complex to render appropriate a trial date outside the normal Speedy Trial limits.

Specifically, the “nature of the prosecution” involves numerous electronic media, evidence in a

foreign language, and classified information.

                                     BASIS FOR MOTION

       The indictment charges the defendant, PETER ROMAR (“ROMAR”), with conspiring to

commit extortion, in violation of 18 U.S.C. § 371; conspiring to access a protected computer

without authorization, in violation of 18 U.S.C. § 1030(b); and conspiring to commit money

laundering, in violation of 18 U.S.C. § 1956(h). The indictment alleges that ROMAR conspired

with others to obtain unauthorized access to computer systems of companies, exfiltrate data from

and cause damage to those computer systems, threaten further harm to the companies if they did

not pay money to the conspirators, and receive money in response to those threats. Over the

course of the conspiracy, ROMAR and his co-conspirators extorted or attempted to extort at least

14 victims and demanded more than $500,000 from those victims.

       On September 29, 2015, ROMAR was charged by criminal complaint on similar offenses

in the Eastern District of Virginia. On March 15, 2016, German authorities provisionally arrested

ROMAR at the request of the United States. On May 9, 2016, ROMAR was extradited from

Germany and arrived in the Eastern District of Virginia.

       In the case before the Court, there are three grounds that justify certification of the case

as complex under the Speedy Trial Act – the large number of relevant electronic media, the

substantial volume of communications in a foreign language, and the relevant classified

information requiring review.


                                                 2
    Case 1:16-cr-00140-CMH Document 21 Filed 06/16/16 Page 3 of 5 PageID# 101



        Electronic Media

        When the defendant was arrested in Germany, he was in possession of multiple laptops

and multiple telephones. On May 26, 2016, 17 days after the defendant’s extradition, the German

government delivered the defendant’s electronic media to the United States pursuant to a request

under the Mutual Legal Assistance Treaty between the United States and Germany. 1 On June 3,

2016, the government, out of an abundance of caution, obtained a search warrant from

Magistrate Judge Theresa C. Buchanan to search these items. Reviewing all of the electronic

media for relevant information will take time, for both the government and defense counsel. This

process is likely to be particularly time-consuming since many of the communications on the

media are in a foreign language. The electronic media is potentially significant in this case since

they are the potential vehicles through which the conspirators communicated and/or gained

unauthorized access to victim computers.

        Foreign Language

        The defendant appears to speak multiple languages, including Arabic, German, and

English. Many relevant communications that the government has identified are in Arabic. The

government will need to translate portions of this foreign language material, and defense counsel

may choose to translate all or other portions, which will require additional time.

        Classified Information

        In this case, the government has identified classified information that must be reviewed

for discovery and potential use at trial. To date, the government has reviewed a large portion of




1
 The United States requested such evidence on the same day that it sought the defendant’s provisional arrest in
Germany.
                                                         3
  Case 1:16-cr-00140-CMH Document 21 Filed 06/16/16 Page 4 of 5 PageID# 102



that material, prioritizing the most relevant material. However, much of the information still

requires review.

       The large number of electronic media, the extraterritorial nature of this case, and the

existence of relevant classified information raises evidentiary and logistical issues that are more

complex than in most cases. As a result, the government anticipates that providing full discovery

and preparing for trial will be sufficiently time-consuming to render it “unreasonable to expect

adequate preparation for pretrial proceedings or for the trial itself” within the time limits

established by the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(B)(ii).

       Accordingly, the United States respectfully requests that the Court designate the case as

“complex” and that it further find that the ends of justice are best served by scheduling a trial

date beyond the 70-day deadline of the Speedy Trial Act.




                                               Respectfully submitted,

                                               Dana J. Boente
                                               United States Attorney


                                               __________/s/_______________________
                                               Brandon L. Van Grack
                                               Special Assistant United States Attorney (LT)

                                               Maya D. Song
                                               Assistant United States Attorney




                                                  4
 Case 1:16-cr-00140-CMH Document 21 Filed 06/16/16 Page 5 of 5 PageID# 103



                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 16, 2016, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will automatically send electronic notification of such

filing (NEF) to the following:


   Geremy Kamens
   Office of the Federal Public Defender (Alexandria)
   1650 King Street, Suite 500
   Alexandria, VA 22314
   (703) 600-0800
   geremy_kamens@fd.org

   Counsel for defendant Peter Romar



                                                /s/ Maya D. Song
                                             Maya D. Song
                                             Assistant United States Attorney
                                             Eastern District of Virginia
                                             (703) 299-3700
                                             Maya.Song@usdoj.gov
